            [ORAL ARGUMENT NOT SCHEDULED]

                             No. 25-1002

       IN THE UNITED STATES COURT OF APPEALS
        FOR THE DISTRICT OF COLUMBIA CIRCUIT

                   FRONTIER AIRLINES, INC.,

                                       Petitioner,

                      SPIRIT AIRLINES, INC.,

                                       Movant-Intervenor,

                                 v.

    UNITED STATES DEPARTMENT OF TRANSPORTATION,

                                       Respondent,

                      ALASKA AIRLINES, INC.,

                                       Intervenor.

               On Petition for Review of a Final Order
         of the United States Department of Transportation

                  BRIEF FOR RESPONDENT

  Of Counsel:                         YAAKOV M. ROTH
GREGORY COTE                           Acting Assistant Attorney
 Acting General Counsel                  General

CHARLES E. ENLOE                      MICHAEL S. RAAB
 Assistant General Counsel            SIMON C. BREWER
                                        Attorneys, Appellate Staff
PETER J. PLOCKI                         Civil Division, Room 7529
 Deputy Assistant General               U.S. Department of Justice
   Counsel                              950 Pennsylvania Avenue NW
EMILY KVESELIS                          Washington, DC 20530
 Trial Attorney                         (202) 616-5367
 U.S. Department of
   Transportation
   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                        CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel

certifies as follows:

      A.    Parties and Amici

      Petitioner is Frontier Airlines, Inc. Respondent is the United

States Department of Transportation.

      On January 27, 2025, the Court granted the motion of Alaska

Airlines, Inc. to intervene in support of respondent. On February 25,

2025, Spirit Airlines, Inc. sought leave to intervene in support of

petitioner. That motion has been deferred to the merits panel. See

Order (Mar. 3, 2025).

      To date, no amici have appeared in this Court.

      B.    Rulings Under Review

      The order under review is Department of Transportation Order

2024-12-8 (Dec. 17, 2024). The docket number is DOT-OST-2024-0065.

      C.    Related Cases

      This case has not previously been before this Court or any other

court. Counsel is aware of only one related case within the meaning of

Circuit Rule 28(a)(1)(C): Alaska Airlines, Inc. v. U.S. Dep’t of Transp.,
No. 25-1062 (D.C. Cir.) (petition for review filed Feb. 14, 2025). That

case is currently in abeyance, with motions to govern due 30 days after

the Court’s disposition of this case. See Order, Alaska Airlines, No. 25-

1062 (Feb. 25, 2025).

                                          /s/ Simon C. Brewer
                                         Simon C. Brewer




                                    ii
                                 TABLE OF CONTENTS

                                                                                                 Page

GLOSSARY

INTRODUCTION ...................................................................................... 1

STATEMENT OF JURISDICTION .......................................................... 2

STATEMENT OF THE ISSUES ............................................................... 2

PERTINENT STATUTES AND REGULATIONS ................................... 3

STATEMENT OF THE CASE .................................................................. 3

       A.      Statutory and Regulatory Background .................................. 3

       B.      Factual Background and Prior Proceedings ........................... 7

SUMMARY OF ARGUMENT ................................................................. 12

STANDARD OF REVIEW....................................................................... 14

ARGUMENT ........................................................................................... 14

I.     As a new entrant air carrier, Frontier is ineligible for the
       slot exemptions. .............................................................................. 15

II.    Spirit has no basis for seeking to overturn DOT’s order. .............. 24

       A.      Spirit’s intervention motion should be denied. .................... 25

       B.      DOT correctly determined that Spirit is ineligible for
               the slot exemptions. .............................................................. 27

III.   DOT properly awarded the slot exemptions to Alaska. ................ 30

       A.      Frontier and Spirit fail to demonstrate their standing. ....... 30



                                                  iii
       B.      DOT reasonably concluded that Alaska is an eligible
               limited incumbent air carrier. .............................................. 32

IV.    If the Court were to grant Frontier’s petition, it should defer
       any decision regarding the appropriate remedy............................ 36

CONCLUSION ........................................................................................ 38

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE

ADDENDUM




                                                 iv
                             TABLE OF AUTHORITIES

Cases:                                                                                   Page(s)
Air Transp. Ass’n of Am. v. FAA,
  921 F.3d 275 (D.C. Cir. 2019) ............................................................ 14
American Fuel & Petrochemical Mfrs. v. EPA,
 937 F.3d 559 (D.C. Cir. 2019) ...................................................... 25, 26
Associated Builders & Contractors, Inc. v. Herman,
  166 F.3d 1248 (D.C. Cir. 1999) .......................................................... 25
Cardillo v. Liberty Mut. Ins. Co.,
 330 U.S. 469 (1947) ............................................................................ 35
Center for Biological Diversity v. U.S. Int’l Dev. Fin. Corp.,
  77 F.4th 679 (D.C. Cir. 2023) ............................................................. 24
Central Va. Cmty. Coll. v. Katz,
  546 U.S. 356 (2006) ............................................................................ 23
Department of Agric. Rural Dev. Rural Hous. Serv. v. Kirtz,
 601 U.S. 42 (2024) ......................................................................... 29-30
Eastern Air Lines, Inc. v. FAA,
 772 F.2d 1508 (11th Cir. 1985) .......................................................... 31
Exhaustless Inc. v. FAA,
 931 F.3d 1209 (D.C. Cir. 2019) ............................................................ 3
Gorman v. National Transp. Safety Bd.,
 558 F.3d 580 (D.C. Cir. 2009) ............................................................ 20
Gray v. Powell,
 314 U.S. 402 (1941) ............................................................................ 35
Illinois Bell Tel. Co. v. FCC,
   911 F.2d 776 (D.C. Cir. 1990) ....................................................... 25-26
Jicarilla Apache Nation v. U.S. Dep’t of the Interior,
  613 F.3d 1112 (D.C. Cir. 2010) .......................................................... 23


                                                 v
Loper Bright Enters. v. Raimondo,
  603 U.S. 369 (2024) ............................................................................ 35
Marx v. General Revenue Corp.,
 568 U.S. 371 (2013) ............................................................................ 17
National Ass’n of Regulatory Util. Comm’rs v. Interstate
 Commerce Comm’n,
 41 F.3d 721 (D.C. Cir. 1994) .............................................................. 25
National Weather Serv. Emps. Org. v. Federal Labor
 Relations Auth.,
 966 F.3d 875 (D.C. Cir. 2020) ....................................................... 23-24
NLRB v. Hearst Publ’ns, Inc.,
 322 U.S. 111 (1944) ............................................................................ 35
Noble v. National Ass’n of Letter Carriers,
 103 F.4th 45 (D.C. Cir. 2024) ............................................................. 16
O’Keeffe v. Smith, Hinchman & Grylls Assocs., Inc.,
  380 U.S. 359 (1965) ............................................................................ 35
Pulsifer v. United States,
 601 U.S. 124 (2024) ............................................................................ 16
Republic Airline Inc. v. U.S. Dep’t of Transp.,
  669 F.3d 296 (D.C. Cir. 2012) .............................................................. 4
Taniguchi v. Kan Pac. Saipan, Ltd.,
 566 U.S. 560 (2012) ............................................................................ 27
Town of Chester v. Laroe Estates, Inc.,
  581 U.S. 433 (2017) ............................................................................ 30
Twin Rivers Paper Co. v. SEC,
 934 F.3d 607 (D.C. Cir. 2019) ............................................................ 32
U.S. Tel. Ass’n v. FCC,
  188 F.3d 521 (D.C. Cir. 1999) ............................................................ 27
United States v. Taylor,
 596 U.S. 845 (2022) ............................................................................ 29

                                                 vi
Statutes:

FAA Modernization and Reform Act of 2012,
 Pub. L. No. 112-95, tit. IV, subtitle A, § 414(c),
 126 Stat. 11, 92 (codified at 49 U.S.C. § 41714(h)(5)(B)(i)) .................. 6

FAA Reauthorization Act of 2024,
 Pub. L. No. 118-63, tit. V, subtitle A, § 502,
 138 Stat. 1025, 1187 (codified at 49 U.S.C. § 41718(i)) ........................ 7

5 U.S.C. § 706 ........................................................................................ 24

49 U.S.C. § 40109(c) .............................................................................. 36

49 U.S.C. § 41714(d)(1) .......................................................................... 29

49 U.S.C. § 41714(h)(3) ................................................... 5, 15, 18, 19, 20

49 U.S.C. § 41714(h)(4) ........................................................................... 3

49 U.S.C. § 41714(h)(5) ............................................................... 5, 20, 32

49 U.S.C. § 41714(h)(5)(A)-(B) .............................................................. 18

49 U.S.C. § 41714(h)(5)(B) ....................................................... 5, 6, 17, 19

49 U.S.C. § 41714(h)(5)(B)(i) ................................................................. 17

49 U.S.C. § 41714(j) ................................................................................. 4

49 U.S.C. § 41714(k) ................................................................ 6, 9, 14, 32

49 U.S.C. § 41714 note .................................................................. 6, 9, 14

49 U.S.C. § 41718 .............................................................................. 4, 16

49 U.S.C. § 41718(a) ............................................................................. 4-5

49 U.S.C. § 41718(g) ............................................................................. 4-5

49 U.S.C. § 41718(g)(2) .................................................................... 21, 23

49 U.S.C. § 41718(i) ........................................................................ 4-5, 15

                                                   vii
49 U.S.C. § 41718(i)(2) ............................................................................ 7

49 U.S.C. § 41718(i)(3) ................................................ 1, 2, 7, 8, 9, 27, 29

49 U.S.C. § 41718(i)(4)(B) ...................................................................... 30

49 U.S.C. § 46110 .................................................................................... 2

49 U.S.C. § 46110(c) ........................................................................ 14, 36

Regulations:

14 C.F.R. pt. 93, subpart K ..................................................................... 3
  14 C.F.R. § 93.123 ................................................................................ 3

14 C.F.R. pt. 93, subpart S ...................................................................... 3
  14 C.F.R. § 93.213 .............................................................................. 27
  14 C.F.R. § 93.213(a)(5) ................................................................. 5, 18
  14 C.F.R. § 93.215 ................................................................................ 4
  14 C.F.R. § 93.221 ................................................................................ 4
  14 C.F.R. §§ 93.223-93.227 .................................................................. 4

14 C.F.R. § 257.3 ..................................................................................... 6


Rules:

Fed. R. App. P. 15(d) .............................................................................. 25

D.C. Cir. R. 28(a)(7) ............................................................................... 32


Legislative Material:

H.R. Rep. No. 106-167 (1999) ................................................................. 33

S. Rep. No. 106-9 (1999) ........................................................................ 33

Other Authorities:

Incumbent, American Heritage Dictionary of the
  English Language (5th ed. 2022) ................................................... 27-28
                                                  viii
Final Judgment, United States v. Alaska Air Grp.,
  1:16-cv-2377 (D.D.C. June 23, 2017), Dkt. No. 16 .............................. 33

Order, Alaska Airlines, Inc. v. U.S. Dep’t of Transp.,
 No. 25-1062 (D.C. Cir. Feb. 25, 2025) .......................................... 12, 37




                                          ix
       GLOSSARY

DOT   Department of Transportation

FAA   Federal Aviation Administration




             x
                            INTRODUCTION

     In 2024, Congress authorized additional flights at Ronald Reagan

Washington National Airport (Reagan National). It directed the

Department of Transportation (DOT) to allow 10 additional takeoff and

landing authorizations at that airport by granting exemptions from the

statutory and regulatory limits on flight operations. These are known

as “slot exemptions.”

     Congress reserved two slot exemptions for a particular class of

airline. To be eligible, an airline must have been both an “incumbent

air carrier[]” and a “limited incumbent air carrier” as of the date of the

statute’s enactment. 49 U.S.C. § 41718(i)(3). DOT carefully analyzed

the eligibility of each applicant for the slot exemptions. It found that

only one—intervenor Alaska Airlines, Inc. (Alaska)—qualified. The

new flights operated by Alaska as a limited incumbent air carrier will

increase competition and travel options at Reagan National, as

Congress intended.

     Petitioner Frontier Airlines, Inc. (Frontier) and movant-intervenor

Spirit Airlines, Inc. (Spirit) offer no basis for overturning that

determination. Neither airline meets both parts of the statutory test for
eligibility, and accepting their contrary arguments would require

disregarding the plain statutory text. And neither provides a basis for

disqualifying Alaska. The petition for review should therefore be

denied.

                  STATEMENT OF JURISDICTION

       DOT served the Final Order under review on December 17, 2024.

JA485. Frontier filed a timely petition for review on January 3, 2025.

This Court has jurisdiction under 49 U.S.C. § 46110.

                   STATEMENT OF THE ISSUES

       The FAA Reauthorization Act of 2024 directed DOT to award two

slot exemptions at Reagan National to an “incumbent air carrier[]

qualifying for status as a limited incumbent carrier.” 49 U.S.C.

§ 41718(i)(3). DOT determined that only Alaska met both qualifications

and therefore awarded it the slot exemptions. The questions presented

are:

       1. Whether DOT correctly determined that Frontier does not

qualify as a “limited incumbent air carrier” at Reagan National.




                                   2
     2. Whether Spirit should be permitted to intervene in this matter

and, if so, whether DOT correctly determined that Spirit is not an

“incumbent air carrier[]” at Reagan National.

     3. Whether DOT properly awarded the slot exemptions reserved

for a limited incumbent air carrier to Alaska.

          PERTINENT STATUTES AND REGULATIONS

     Pertinent statutes and regulations are reproduced in the

addendum to this brief.

                     STATEMENT OF THE CASE

     A.    Statutory and Regulatory Background

     1. At some airports, demand for runway operations exceeds

available capacity. As a result, the Federal Aviation Administration

(FAA) has long “restricted the number of takeoffs and landings at

certain highly congested airports in order to reduce inefficient flight

delays. The restrictions were codified in a series of regulations known

as the High Density Rule.” Exhaustless Inc. v. FAA, 931 F.3d 1209,

1210 (D.C. Cir. 2019); see 14 C.F.R. pt. 93, subparts K, S. The High

Density Rule, which applies to Reagan National, allocated to airlines a

limited number of “slots,” which are authorizations to conduct takeoffs

and landings. See 14 C.F.R. § 93.123; accord 49 U.S.C. § 41714(h)(4).
                                     3
     Since 2000, Congress has adopted a series of special rules for

Reagan National authorizing “slot exemptions.” See 49 U.S.C. § 41718.

Slot exemptions provide additional takeoff and landing authorizations

outside the ordinary slot allocations authorized by the High Density

Rule. See Republic Airline Inc. v. U.S. Dep’t of Transp., 669 F.3d 296,

297 (D.C. Cir. 2012) (“These aptly-named ‘slot exemptions’ permit take-

offs and landings in addition to those available under the [High Density

Rule].”); JA174 n.1. Although they perform a similar function in that

they authorize flight takeoffs and landings, slots and slot exemptions

differ in several ways. For example, slots are created by regulation and

allocated by the FAA, while slot exemptions are created by statute and

allocated by the Secretary of Transportation. Compare 14 C.F.R.

§§ 93.215, 93.223-93.227 (slots), with 49 U.S.C. § 41718 (slot

exemptions). And unlike slots, slot exemptions generally cannot be

bought, sold, leased, or otherwise transferred in private transactions

among air carriers. Compare 14 C.F.R. § 93.221 (slots), with 49 U.S.C.

§ 41714(j) (slot exemptions).

     Congress has instructed DOT to allocate slot exemptions at

Reagan National to specific categories of airlines. See 49 U.S.C.


                                    4
§ 41718(a), (g), (i). By statute and regulation, airlines are grouped into

three categories:

     New entrant air carriers: a “new entrant air carrier” is one that

“does not hold a slot at the airport concerned and has never sold or

given up a slot at that airport after December 16, 1985.” 49 U.S.C.

§ 41714(h)(3). A “limited incumbent air carrier,” as defined below, also

qualifies as a “new entrant air carrier.” Id.

     Limited incumbent air carriers: a “limited incumbent air

carrier” is one that holds or operates fewer than 40 slots at a particular

airport, subject to several exceptions not relevant here. 49 U.S.C.

§ 41714(h)(5); 14 C.F.R. § 93.213(a)(5).

     Importantly, the method for calculating an airline’s number of

“slots” has changed over time. Until 2012, an airline’s slot exemptions

counted as “slots” for purposes of qualifying as a limited incumbent air

carrier. See 49 U.S.C. § 41714(h)(5)(B) (effective Apr. 5, 2000, to Feb.

13, 2012) (“The term ‘limited incumbent air carrier’ has the meaning

given that term in [the High Density Rule]; except that . . . the term

‘slot’ shall include ‘slot exemptions’ . . . .”). In 2012, Congress enacted

new legislation that excluded slot exemptions from the count when


                                      5
determining an airline’s status as a limited incumbent. FAA

Modernization and Reform Act of 2012, Pub. L. No. 112-95, tit. IV,

subtitle A, § 414(c), 126 Stat. 11, 92 (codified at 49 U.S.C.

§ 41714(h)(5)(B)(i)). As a result, the statutory definition of a “limited

incumbent air carrier” now provides that “the term ‘slot’ shall not

include . . . ‘slot exemptions.’” 49 U.S.C. § 41714(h)(5)(B).

     Non-limited incumbent air carriers: non-limited incumbent

carriers are those that hold or operate too many slots to qualify as a

limited incumbent carrier.

     Airlines sometimes enter into “code-share” agreements in which

one airline places its designator code on a flight operated by another

airline and sells tickets for that flight. Cf. 14 C.F.R. § 257.3 (defining

“[c]ode-sharing arrangement”). An airline that “has or enters into a

code-share agreement[] with any other air carrier” is ineligible “for a

new slot or slot exemption as a new entrant or limited incumbent air

carrier . . . if the total number of slots and slot exemptions held by the

two carriers at the airport exceed 20 slots and slot exemptions.” 49

U.S.C. § 41714(k).




                                     6
     2. In 2024, Congress directed DOT to make available 10

additional slot exemptions at Reagan National. See FAA

Reauthorization Act of 2024, Pub. L. No. 118-63, tit. V, subtitle A, § 502,

138 Stat. 1025, 1187 (codified at 49 U.S.C. § 41718(i)) (FAA

Reauthorization Act). Of those slot exemptions, Congress directed that

eight must be allocated “to incumbent air carriers qualifying for status

as a non-limited incumbent carrier at [Reagan National] as of the date

of enactment of the” FAA Reauthorization Act. 49 U.S.C. § 41718(i)(2).

Congress reserved the remaining two slot exemptions for “incumbent

air carriers qualifying for status as a limited incumbent carrier as of the

date of enactment of the” FAA Reauthorization Act. Id. § 41718(i)(3).

     B.    Factual Background and Prior Proceedings

     1. Pursuant to the FAA Reauthorization Act, DOT established

slot-exemption proceedings at Reagan National and invited applications

from eligible air carriers. JA174-176. As principally relevant here,

Frontier, Spirit, and Alaska all submitted applications for the slot

exemptions reserved for limited incumbent air carriers. JA192-200

(Frontier); JA201-212 (Alaska); JA218-230 (Spirit).




                                    7
     2. After receiving various other pleadings and comments on

timely filed applications, DOT issued an order to show cause with its

tentative conclusions. JA383-414. Because objections were raised to all

three applicants’ eligibility, DOT set forth its tentative conclusions

regarding each airline’s eligibility. JA400-404.

     The agency first laid out the statutory framework. JA401. The

FAA Reauthorization Act reserved two slot exemptions for “incumbent

air carriers qualifying for status as a limited incumbent carrier” as of

the statute’s enactment. 49 U.S.C. § 41718(i)(3). DOT explained that

this language established a two-part test for eligibility: “first, a carrier

must be an incumbent on the date of enactment of [the FAA

Reauthorization Act]; and second, a carrier must then also qualify for

status as a limited incumbent.” JA401.

      DOT tentatively determined that Frontier met the first part of the

test, but not the second. Frontier qualified as an “incumbent air

carrier” because it was engaged in air transportation at Reagan

National. JA402. But Frontier did not qualify as a “limited incumbent

air carrier,” as defined by statute and regulation, because it only

operated at Reagan National through slot exemptions. JA402. Because


                                      8
Frontier held or operated zero slots, it qualified only as a new entrant

air carrier. JA402.

     By contrast, DOT tentatively determined that Spirit was not an

“incumbent air carrier,” as required by the first statutory criterion.

JA403. It observed that “Spirit has not engaged in air transportation at

[Reagan National] since 2012.” JA403. Because Spirit did not

currently operate at the airport, it could not be an “incumbent,” as the

FAA Reauthorization Act used that term. JA403. In light of that

conclusion, DOT did not reach the question whether Spirit “qualif[ied]

for status as a limited incumbent carrier.” 49 U.S.C. § 41718(i)(3).

     DOT also tentatively determined that Alaska qualified as a

limited incumbent air carrier. JA403. Spirit and Frontier had objected

that Alaska’s code-sharing relationship with American Airlines, Inc.

(American) was disqualifying under 49 U.S.C. § 41714(k). JA403. DOT

tentatively rejected this view, explaining that “[t]he scope of Alaska and

American’s code sharing relationship is limited by a settlement

agreement reached in 2017 to resolve issues related to the merger

transaction between Alaska and Virgin America Airlines.” JA403.

That agreement includes a number of limitations, including one which


                                     9
prohibits American from placing its code on Alaska’s flights originating

at Reagan National. JA404. Given those limitations, DOT saw no

imminent risk that Alaska would “gain[] preferential access to slots or

slot exemptions” only to turn around and “market and operate those

slots on behalf of a larger, incumbent mainline carrier.” JA404. The

Alaska-American relationship therefore did not raise the type of

concerns that § 41714(k) was designed to prevent. JA404.

     3. After receiving additional comments, DOT issued a final order

confirming its tentative conclusions. JA485-496. Frontier presented no

new arguments regarding its eligibility, so DOT found that “under the

applicable statutes and regulations, Frontier is a new entrant carrier at

[Reagan National] and does not qualify as a limited incumbent carrier

in this proceeding.” JA491. DOT also rejected Spirit’s additional

arguments regarding its eligibility. The agency reiterated that “a plain

reading of the statute” requires that an airline have “provide[d] air

transportation at [Reagan National] on the date of the enactment” of

the FAA Reauthorization Act. JA492. Spirit undisputedly did not do

so. JA492.




                                    10
     The Final Order also confirmed that Alaska was an eligible

limited incumbent air carrier. JA492. In rejecting Frontier’s and

Spirit’s objections, the agency first observed that because those airlines

were ineligible for the slot exemptions, they did not appear to suffer any

harm from DOT’s award of the slot exemptions to Alaska. JA492. In

any event, DOT concluded that § 41714(k) did not apply to Alaska’s

application. The agency again observed that the Alaska-American

relationship “does not include slot-sharing provisions, does not increase

the slot holdings of the dominant carrier at [Reagan National] (i.e.,

American), and does not place Alaska-operated slots under the

marketing control of American.” JA492-493. Given those restrictions,

DOT determined that § 41714(k) did not preclude treating Alaska as a

limited incumbent. JA493.

     DOT thus awarded the slot exemptions to Alaska. JA494. Alaska

has confirmed its intent to begin its new service to San Diego,

California no later than March 17, 2025. JA497.

     4. Frontier filed this petition for review on January 3, 2025. Two

weeks later, it filed an emergency motion seeking a partial stay pending




                                    11
review of the Final Order. This Court denied the stay motion and

expedited the case. See Order (Feb. 6, 2025).

     5. Under a separate case number, Alaska has conditionally cross-

petitioned for review of the Final Order. See Petition for Review,

Alaska Airlines, Inc. v. U.S. Dep’t of Transp., No. 25-1062 (D.C. Cir.

Feb. 14, 2025). If “the Court finds that Alaska is not a limited

incumbent air carrier,” Alaska intends “to seek vacatur of the full

[Final] Order so Alaska can apply to DOT as a non-limited incumbent

air carrier for slot exemptions allocated to that other category of

carriers.” Id. at 1-2. That petition is in abeyance pending the

disposition of this case. Order, Alaska Airlines, No. 25-1062 (Feb. 25,

2025).

                     SUMMARY OF ARGUMENT

     I.    Frontier is ineligible for the slot exemptions reserved for a

limited incumbent air carrier. Frontier operates only through slot

exemptions at Reagan National. In other words, it holds zero slots.

The relevant statutory and regulatory definitions provide that an air

carrier with zero slots qualifies only as a new entrant air carrier, not as

a limited incumbent. The FAA Reauthorization Act did not authorize


                                    12
any slot exemptions for new entrant air carriers. As a result, DOT

correctly rejected Frontier’s application.

     II.   Spirit cannot intervene in this matter to press its eligibility

for the slot exemptions. Spirit’s intervention motion was untimely, and

Spirit seeks to go beyond the proper role of an intervenor by inserting

new issues into this case. But even if Spirit’s arguments were properly

presented, they would not change the proper outcome. The FAA

Reauthorization Act limited eligibility to “incumbent air carriers,”

which signifies that an applicant must currently provide air

transportation at Reagan National. Spirit does not, so it cannot obtain

the slot exemptions.

     III. DOT properly awarded the slot exemptions to Alaska. As an

initial matter, neither Frontier nor Spirit demonstrates Article III

standing to challenge that portion of the Final Order. Because neither

airline is itself eligible, neither suffers evident harm from award of the

slot exemptions to a different airline. And any other basis for standing

has been forfeited.

     In any event, DOT correctly determined that Alaska is an eligible

limited incumbent. Alaska’s code-sharing relationship with American


                                    13
does not trigger the statutory bar on being treated as a limited

incumbent under 49 U.S.C. § 41714(k). That provision addresses

concerns that larger incumbents, such as American, will try to use their

code-sharing relationships to gain access to slots and slot exemptions

reserved for smaller air carriers. But here, the Alaska-American

relationship is restricted by, among other things, a 2017 antitrust

settlement agreement between the United States and Alaska. The

terms of that agreement ensure that awarding slot exemptions to

Alaska poses no risk of unduly increasing American’s access to the

Reagan National market.

                      STANDARD OF REVIEW

     This Court will overturn a DOT order “only if it is arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with

law.” Air Transp. Ass’n of Am. v. FAA, 921 F.3d 275, 280 (D.C. Cir.

2019). DOT’s factual findings are “conclusive” unless not “supported by

substantial evidence.” 49 U.S.C. § 46110(c).

                              ARGUMENT

     DOT’s Final Order correctly applied the FAA Reauthorization Act.

Neither Frontier nor Spirit was eligible for the slot exemptions at issue.


                                    14
Frontier did not qualify as a “limited incumbent air carrier,” while

Spirit was not an “incumbent air carrier[],” as required by 49 U.S.C.

§ 41718(i). Because Alaska was the only eligible applicant, DOT

properly awarded it the slot exemptions.

I.   As a new entrant air carrier, Frontier is ineligible for
     the slot exemptions.

     DOT correctly disqualified Frontier’s application for the slot

exemptions reserved for a limited incumbent air carrier. As of the FAA

Reauthorization Act’s enactment, Frontier qualified only as a new

entrant air carrier at Reagan National. It was therefore ineligible for

the slot exemptions.

     A. Frontier falls within the definition of a new entrant air carrier

at Reagan National. A “new entrant air carrier” is one that “does not

hold a slot at the airport concerned and has never sold or given up a slot

at that airport after December 16, 1985.” 49 U.S.C. § 41714(h)(3). It is

undisputed that Frontier holds zero slots, and has never sold or given

up a slot, at Reagan National. E.g., JA195 (conceding that Frontier

operates only through slot exemptions at Washinton National Airport).

The statutory definition of a new entrant thus encompasses Frontier.

JA491.

                                   15
      Frontier resists this straightforward conclusion with an atextual

gloss on the statute. According to Frontier, the statutory reference to

“slots” should be read to include “slot exemptions” as well. Pet’r Br. 25.

That contention is incompatible with the overall statutory scheme,

which consistently distinguishes between “slots” and “slot exemptions.”

See, e.g., Noble v. National Ass’n of Letter Carriers, 103 F.4th 45, 50

(D.C. Cir. 2024) (“The text must be read in the context of the entire

statute.”). For example, the relevant statutory section directs DOT to

grant “slot exemptions,” not additional “slots,” to certain airlines

operating at Reagan National. 49 U.S.C. § 41718. And when Congress

intended DOT to consider an air carrier’s slots and slot exemptions

jointly, it has said so explicitly. See, e.g., id. § 41714(k) (directing DOT

to consider an air carrier’s “total number of slots and slot exemptions”).

That usage accords with the general principle that “different terms

usually have different meanings.” Pulsifer v. United States, 601 U.S.

124, 149 (2024); see also supra p. 4 (describing the differences between

slots and slot exemptions).

     Frontier’s approach would upend that common-sense

understanding. It attempts to justify that result by drawing a negative


                                     16
inference from the statutory definition of a limited incumbent air

carrier. Pet’r Br. 25. As explained above, the definition of a limited

incumbent explicitly excludes “slot exemptions” when determining how

many “slot[s]” an air carrier holds and operates. 49 U.S.C.

§ 41714(h)(5)(B)(i). But the statutory history makes clear why that

provision does not support any negative inference. See Marx v. General

Revenue Corp., 568 U.S. 371, 381 (2013) (“The force of any negative

implication, however, depends on context.”).

      From 2000 until 2012, the “limited incumbent” definition provided

that “the term ‘slot’ shall include ‘slot exemptions.’” See 49 U.S.C.

§ 41714(h)(5)(B) (effective Apr. 5, 2000, to Feb. 13, 2012). Congress

thus created an exception to the background understanding that those

two terms are distinct. In 2012, Congress decided to reverse this prior

exception. See id. § 41714 note (2012 amendment). It inserted the

current language, which provides that even for limited incumbents, “the

term ‘slot’ shall not include . . . ‘slot exemptions.’” Id. § 41714(h)(5)(B).

It is not sensible to infer from this amendment that Congress intended

to collapse the generally applicable distinction between slots and slot

exemptions.


                                      17
      It is therefore clear that Frontier is a new entrant air carrier

because it “does not hold a slot at the airport concerned.” 49 U.S.C.

§ 41714(h)(3). Because Congress did not allocate any slot exemptions

for new entrant air carriers, Frontier’s application was properly denied.

JA402, 491.

      B. DOT correctly rejected Frontier’s arguments for classifying it

as a limited incumbent air carrier. To be a limited incumbent, an air

carrier must “hold[] or operate[] fewer than [40] air carrier . . . slots,”

14 C.F.R. § 93.213(a)(5), excluding slot exemptions, 49 U.S.C.

§ 41714(h)(5)(A)-(B). All agree that, for purposes of this definition,

Frontier holds and operates zero slots at Reagan National. Pet’r Br. 24

(“Frontier’s slot count equals zero . . . .”); accord JA195, 402. As a

result, it cannot qualify as a limited incumbent.

      Frontier contends (at 24-25) that having zero slots suffices to

qualify for limited incumbent status. In short, Frontier argues that

zero slots is “‘fewer than’ 40.” Pet’r Br. 24 (quoting 14 C.F.R.

§ 93.213(a)(5)). But DOT correctly understood the cited definition to

require that an air carrier hold and operate at least one slot. JA402,

491. If Congress required companies operating “fewer than” 40 aircraft


                                      18
to obtain a particular type of license, one would not expect companies

operating zero aircraft to apply for the license. Similarly, it would be

odd to say that “fewer than 40” published judicial decisions address a

topic if, in fact, no published decision has addressed the topic.

     Adopting Frontier’s interpretation would lead to anomalous

results. A brand-new airline that has never operated a flight anywhere

would seem to qualify as a limited incumbent, as it would also hold or

operate fewer than zero slots. At the same time, it seems self-evident

that such an airline would meet the statutory definition of a new

entrant air carrier. And it is no answer to say that, unlike a brand-new

airline, Frontier operates at Reagan National through slot exemptions.

The statute explicitly forecloses consideration of slot exemptions. 49

U.S.C. § 41714(h)(5)(B). Frontier’s interpretation of “limited incumbent

air carrier” would therefore render that term redundant with “new

entrant.” See JA402.1




     1 As noted above, Congress has decided that a limited incumbent

may be treated as a new entrant. See 49 U.S.C. § 41714(h)(3) (“The
term ‘new entrant air carrier’ means . . . a limited incumbent carrier.”).
But the reverse is not true: a new entrant is not automatically treated
as a limited incumbent as well. It is therefore necessary to preserve the
distinction between those categories. JA402.
                                    19
     That refutes Frontier’s argument that, as Congress used the

phrase here, “fewer than [40] . . . slots” includes zero slots. In some

other contexts, “less than” or “fewer than” sensibly can be interpreted to

include zero. That explains this Court’s decision in Gorman v. National

Transportation Safety Board, 558 F.3d 580 (D.C. Cir. 2009), on which

Frontier relies (at 24). This Court explained that a regulation applying

to aircraft with “less than 20 seats” was “ambiguous” as to aircraft with

zero seats. Gorman, 558 F.3d at 588 (quotation marks omitted).

Critically, the regulation’s context rendered “permissible” the agency’s

interpretation that the regulation applied to cargo-only aircraft with

zero passenger seats. See id. (observing that the regulation’s heading

“plainly includes an aircraft that carries cargo only”). But Frontier

identifies no analogous context here to support its reading.

     Just the opposite: the statutory and regulatory context confirms

DOT’s interpretation. In establishing three categories of air carriers,

Congress distinguished between those with zero slots (new entrants);

those with between 1 and 39 slots (limited incumbents); and those with

40 or more slots (non-limited incumbents). See 49 U.S.C. § 41714(h)(3),

(5). To preserve those carefully drawn groups, DOT correctly


                                    20
determined that an air carrier that concededly has zero slots qualifies

only as a new entrant.

     And contrary to Frontier’s suggestion (at 27), being a new entrant

does not mean that Frontier “may never qualify for [Reagan National]

slot exemptions.” Congress previously has made available slot

exemptions for “new entrant air carriers.” E.g., 49 U.S.C. § 41718(g)(2).

Had Congress taken that approach in the FAA Reauthorization Act,

Frontier could have been eligible. But Congress instead decided to

reserve these slot exemptions for limited incumbent air carriers. DOT

faithfully carried out those statutory instructions when assessing

Frontier’s application. JA491 (recognizing that Congress narrowed

DOT’s ability to “consider all carriers and business models for the

available slot exemptions”).

     C. Frontier purports to identify a conflict between the Final

Order and how DOT characterized Frontier’s status in prior

proceedings. Pet’r Br. 28-29. It further claims that DOT failed to

distinguish those orders, making DOT’s determination arbitrary and

capricious. Pet’r Br. 30. Those past decisions are not probative of

Frontier’s status, so there was no need to address them.


                                   21
       As an initial matter, Frontier relies on several decisions that pre-

date the 2012 amendment to the definition of a limited incumbent air

carrier. See Pet’r Br. 28 (first citing JA35 (DOT order dated Nov. 27,

2002); and then citing JA57 (DOT order dated Apr. 1, 2004)). Those

decisions are plainly irrelevant to Frontier’s classification under the

post-amendment statutory definition.

     Frontier also cites two orders from 2012 that it claims support its

position. In one, DOT did not opine on Frontier’s classification. Rather,

it merely recounted Frontier’s assertion of its own status. See JA76

(“Frontier confirms its status as a limited incumbent carrier . . . .”). In

the other, DOT did describe Frontier as “a limited incumbent carrier.”

JA112. No participant in that proceeding appears to have disputed

Frontier’s status, see JA97-107, so it is not surprising that the agency

accepted Frontier’s self-characterization—particularly because that

proceeding did not require DOT to distinguish between new entrants

and limited incumbents, as both were eligible for the same pool of slot

exemptions. See JA96 (noting that the selection criteria encompassed

“new entrant air carriers and limited incumbent air carriers”). In that

context, a passing remark about Frontier’s status cannot bind the


                                     22
agency in future proceedings. Cf. Central Va. Cmty. Coll. v. Katz, 546

U.S. 356, 363 (2006) (“[W]e are not bound to follow our dicta in a prior

case in which the point now at issue was not fully debated.”).

     There is also no conflict between the order under review and how

DOT has previously characterized Alaska. Contra Pet’r Br. 29 (citing

JA86). In the cited decision, DOT explained that Alaska—which then

operated at Reagan National only through slot exemptions—qualified

as a “new entrant/limited incumbent.” JA86. Because both types of

carriers were eligible, see 49 U.S.C. § 41718(g)(2), DOT had no reason to

determine which category encompassed Alaska.

     Frontier suggests that DOT did not sufficiently explain its

departure from these prior orders. Pet’r Br. 29-30. There is no such

departure because the cited orders did not establish a relevant

precedent. This Court has never “require[d] an agency to grapple with

every last one of its precedents, no matter how distinguishable.”

Jicarilla Apache Nation v. U.S. Dep’t of the Interior, 613 F.3d 1112,

1120 (D.C. Cir. 2010). Consequently, an agency decision need not

articulate such “evident” distinguishing features. National Weather




                                   23
Serv. Emps. Org. v. Federal Labor Relations Auth., 966 F.3d 875, 884

(D.C. Cir. 2020).

      In any event, even if DOT should have discussed its prior orders

in greater detail, any error was harmless. See 5 U.S.C. § 706 (“[D]ue

account shall be taken of the rule of prejudicial error.”). Any discussion

of past practice “would not alter the legal conclusion” that Frontier is a

new entrant air carrier because that conclusion is compelled by the

statutory text. Center for Biological Diversity v. U.S. Int’l Dev. Fin.

Corp., 77 F.4th 679, 690 (D.C. Cir. 2023). Because the statutory text

“foreclose[s]” Frontier’s arguments, it cannot meet its “responsibility to

show that an error is harmful.” Id.

II.   Spirit has no basis for seeking to overturn DOT’s
      order.

      As DOT’s opposition to Spirit’s intervention motion explained,

Spirit’s untimely attempt to intervene should be denied. But even if the

Court were inclined to grant the motion, Spirit’s participation would

have no effect on the proper disposition of this case. Under well-settled

law, Spirit cannot enlarge the issues presented in Frontier’s petition.

And even if it could, Spirit’s arguments regarding its own eligibility are

meritless.

                                    24
      A.    Spirit’s intervention motion should be denied.

      The Court should deny Spirit’s untimely intervention motion.

That motion was filed well after the deadline set by rule, see Fed. R.

App. P. 15(d), and by this Court’s order, see Order (Jan. 27, 2025). It

would therefore be proper to deny intervention solely on procedural

grounds. Cf. Associated Builders & Contractors, Inc. v. Herman, 166

F.3d 1248, 1257 (D.C. Cir. 1999) (“If the motion was not timely, there is

no need for the court to address the other factors that enter into an

intervention analysis.”).

      Even setting the timeliness problem aside, Spirit’s lodged brief

goes far beyond the proper role for an intervenor. “By failing to file a

timely petition for review, [Spirit] forfeited any guarantee to judicial

review of its claim.” American Fuel & Petrochemical Mfrs. v. EPA, 937

F.3d 559, 590 (D.C. Cir. 2019) (per curiam). As a proposed intervenor,

it “may only argue issues that have been raised by the principal

parties.” National Ass’n of Regulatory Util. Comm’rs v. Interstate

Commerce Comm’n, 41 F.3d 721, 729 (D.C. Cir. 1994). Absent such a

rule, “the time limitations for filing a petition for review . . . could easily

be circumvented through the device of intervention.” Illinois Bell Tel.


                                      25
Co. v. FCC, 911 F.2d 776, 786 (D.C. Cir. 1990). Those circumvention

concerns are evident here, as Spirit waited until after the statutory

petition deadline to seek review of the Final Order.

      Spirit’s brief plainly attempts to raise new issues. Most notably,

Spirit attempts to assert its own eligibility for the slot exemptions.

Spirit Br. 17-24. That is far outside the issues raised in Frontier’s

petition, which concerns only (1) Frontier’s eligibility, and (2) Alaska’s

eligibility. See Pet’r Br. 4. And despite its purported support of

Frontier’s petition, “Spirit does not support Frontier’s” requested

remedy. Spirit Br. 27. Instead, it attempts to offer an alternative

remedy that would require reconsideration of Spirit’s application. See

Spirit Br. at 33-36. If Spirit wished to secure judicial review of the

rejection of its application, it needed to timely file its own petition for

review. See American Fuel & Petrochemical Mfrs., 937 F.3d at 590

(declining to consider an argument when the intervenor had “every

incentive to file its own petition for review”). Because Spirit “presents

no reason why it could not have petitioned in its own right” within the

statutory deadline, this Court should “decline to consider” these




                                     26
additional issues. U.S. Tel. Ass’n v. FCC, 188 F.3d 521, 531 (D.C. Cir.

1999).

     B.    DOT correctly determined that Spirit is
           ineligible for the slot exemptions.

     Even if Spirit were entitled to press its arguments here, they

would fail. DOT correctly determined that Spirit was not an

“incumbent air carrier[]” at Reagan National and was, therefore,

ineligible for the slot exemptions.

     To qualify for the slot exemptions at issue, an airline must have

been both (1) an “incumbent air carrier[]” and (2) “qualif[ied] for status

as a limited incumbent carrier” as of the FAA Reauthorization Act’s

enactment. 49 U.S.C. § 41718(i)(3); see JA401, 490. As DOT observed,

the term “incumbent air carrier” is not defined by either statute or

regulation. JA401, 490-492; see also 14 C.F.R. § 93.213 (not defining

that term). The agency therefore accorded the term its ordinary

meaning. JA401, 490-492; see Taniguchi v. Kan Pac. Saipan, Ltd., 566

U.S. 560, 566 (2012) (“When a term goes undefined in a statute, we give

the term its ordinary meaning.”).

     In common usage, “incumbent” denotes one that “[c]urrently

hold[s] a specified office.” Incumbent, American Heritage Dictionary of

                                      27
the English Language (5th ed. 2022). Given that ordinary meaning,

DOT appropriately defined “incumbent air carrier” as “a carrier that is

engaged in air transportation at [Reagan National] as of the date of

enactment of” the FAA Reauthorization Act. JA401. It is undisputed

that Spirit does not currently provide air transportation at Reagan

National, having sold its only slots to another air carrier in 2012.

JA402-403. Spirit therefore could not satisfy the first statutory

criterion.2

      Spirit suggests (at 18) that DOT erred in applying a two-part test.

According to Spirit, the statute sets forth only one criterion: whether an

airline is a limited incumbent air carrier. Spirit Br. 18. If Congress

had wanted to make being a “limited incumbent air carrier” the sole

eligibility criterion, it would have said so. Instead, it restricted




      2 This definition also explains why there is no contradiction in

treating Frontier as both an “incumbent air carrier” and a new entrant
air carrier. Contra Pet’r Br. 23, 28. Frontier is an “incumbent air
carrier,” as the FAA Reauthorization Act uses that term, because it
provides transportation at Washington National Airport. JA402. It
does so solely through slot exemptions, however. JA402. The statutory
and regulatory definitions of new entrant air carrier and limited
incumbent air carrier exclude slot exemptions, so Frontier qualifies only
as a new entrant. See supra pp. 15-21.

                                     28
eligibility to “incumbent air carriers qualifying for status as a limited

incumbent air carrier.” 49 U.S.C. § 41718(i)(3). Spirit’s interpretation

requires disregarding the first half of that phrase. If “all limited

incumbents are incumbents,” as Spirit contends (at 11), then

“incumbent air carrier[]” is redundant. Such an atextual interpretation

should be rejected. See, e.g., United States v. Taylor, 596 U.S. 845, 857

(2022) (“[W]e do not lightly assume Congress adopts two separate

clauses in the same law to perform the same work.”).

     Spirit offers one last argument: that Congress could have referred

to “operating” air carriers to denote those that currently provide air

transportation services. Spirit Br. 21. In support, Spirit cites a

different statutory provision that refers to “an air carrier currently

holding or operating a slot at Ronald Reagan Washington National

Airport.” 49 U.S.C. § 41714(d)(1). Even assuming that phrasing would

have achieved the same effect, Congress is not required to use magic

words to express its intent. “[T]he fact that Congress chose to use

certain language” in one subsection “hardly means it was foreclosed

from using different language to accomplish the same goal in a different

set of amendments.” Department of Agric. Rural Dev. Rural Hous. Serv.


                                    29
v. Kirtz, 601 U.S. 42, 52 (2024) (alterations and quotation marks

omitted).

III. DOT properly awarded the slot exemptions to Alaska.

     After determining that Frontier and Spirit were ineligible for the

limited incumbent slot exemptions, DOT concluded that Alaska was the

only eligible applicant. JA493. It therefore awarded Alaska those slot

exemptions, which it explained would maximize the “public benefits

available from these scarce assets.” JA493; see also JA406-407. That

accords with Congress’s determination that the additional slot

exemptions would “enhance options for nonstop travel” from Reagan

National and “have a positive impact on the overall level of

competition.” 49 U.S.C. § 41718(i)(4)(B). DOT’s reasoned determination

should be upheld.

     A.     Frontier and Spirit fail to demonstrate their
            standing.

     As an initial matter, neither Frontier nor Spirit appears to have

Article III standing to contest DOT’s decision to award the slot

exemptions to Alaska. See Town of Chester v. Laroe Estates, Inc., 581

U.S. 433, 439 (2017) (“[A] plaintiff must demonstrate standing for each

claim he seeks to press and for each form of relief that is sought.”

                                    30
(quotation marks omitted)). Frontier’s claim to standing is premised

solely on its desire to obtain the limited-incumbent slot exemptions. See

Pet’r Br. 19-21. Spirit, for its part, does not set forth its claim to

standing. See generally Spirit Br. But for the reasons set forth above,

neither airline is eligible for those slot exemptions. As a result, neither

has an apparent interest in whether DOT properly determined that

Alaska qualifies as a limited incumbent air carrier. See Eastern Air

Lines, Inc. v. FAA, 772 F.2d 1508, 1512 (11th Cir. 1985) (“Eastern has

suffered no injury from the FAA’s approval of the Midway/Air Florida

transaction [transferring slots from Air Florida to its successor, Midway

Airlines]. If that transaction had not been approved, Eastern still

would not in consequence have any right to the airport slots.”).

      Indeed, DOT observed that because Frontier and Spirit are

themselves ineligible for the slot exemptions, neither suffers any injury

from the award of slot exemptions to Alaska. See JA492 (“[T]he only

two parties to question Alaska’s eligibility—Spirit and Frontier—are

not themselves eligible, and therefore are not directly injured or

affected by our determination that Alaska is eligible as a limited

incumbent.”). Neither Frontier nor Spirit disputes that observation.


                                      31
And, as noted, neither asserts any other basis for standing. As a result,

any other arguable standing theory has been forfeited. See Twin Rivers

Paper Co. v. SEC, 934 F.3d 607, 613 (D.C. Cir. 2019); see also D.C. Cir.

R. 28(a)(7).

      B.       DOT reasonably concluded that Alaska is an
               eligible limited incumbent air carrier.

      In any event, DOT properly awarded the slot exemptions to

Alaska. There is no dispute that Alaska itself holds and operates fewer

than 40 slots at Reagan National. It is therefore a limited incumbent

air carrier within the statutory definition. See 49 U.S.C. § 41714(h)(5).

      Frontier and Spirit contend that 49 U.S.C. § 41714(k) nonetheless

renders Alaska ineligible. Pet’r Br. 30-36; Spirit Br. 27-33. That

provision prevents an air carrier that “has or enters into a code-share

agreement[] with any other air carrier” from qualifying for a new slot

exemption as a limited incumbent air carrier “if the total number of

slots and slot exemptions held by the two carriers at the airport exceed

20 slots and slot exemptions.” 49 U.S.C. § 41714(k). Frontier and Spirit

submit that the code-share relationship between Alaska and American

Airlines, see JA403, triggers the statutory bar.



                                    32
     DOT rightly rejected this argument. JA403-404, 492-493. As

DOT explained, the Alaska-American “code sharing relationship is

limited by a settlement agreement reached in 2017” to resolve antitrust

concerns arising from the merger of Alaska and Virgin American

Airlines. JA403; see JA117-128 (reproducing the settlement

agreement).3 This unique factual situation required DOT to make a

judgment about whether this particular arrangement triggered the

application of § 41714(k). The agency reasonably concluded that the

scenario here is not the one contemplated by Congress.

     As DOT observed, the animating concern behind § 41714(k) is that

“larger, incumbent mainline carrier[s]” not receive “preferential access

to slots or slot exemptions” by virtue of their relationships with smaller

airlines, such as commuter air carriers. JA404 (citing H.R. Rep. No.

106-167 (1999); S. Rep. No. 106-9 (1999)). Section 41714(k) thus

operates to prevent such smaller players from obtaining slots and slot

exemptions as a new entrant or limited incumbent “only to market and




     3 DOT cited the proposed final judgment in that case.    JA403. The
final judgment entered by the district court is identical. See Final
Judgment, United States v. Alaska Air Grp., 1:16-cv-2377 (D.D.C. June
23, 2017), Dkt. No. 16.
                                   33
operate those slots [or slots exemptions] on behalf of” their larger code-

share partner. JA404; accord JA492 (“Section 41714(k) is properly

interpreted to exclude regional affiliates from obtaining slot exemptions

that would likely be controlled by the larger mainline incumbents.”).4

     Here, there is no concern that Alaska will “market and operate”

the slot exemptions on behalf of American. JA404. The Alaska-

American relationship “does not include slot-sharing provisions, does

not increase the slot holdings of the dominant carrier at [Reagan

National] (i.e., American), and does not place Alaska-operated slots

under the marketing control of American.” JA492-493. Critically, the

2017 settlement agreement prohibits Alaska from placing American’s

code on any nonstop flight it operates originating at Reagan National.

JA404, 492-493; see JA122 (prohibiting American from marketing “any

Alaska Flight that originates or terminates at any Key American

Airport,” including Reagan National).




     4 Spirit observes (at 34) that portions of the legislative history

focused on commuter air carriers. That misses the point. DOT looked
to this legislative history to illustrate the general principle that smaller
air carriers, such as Alaska, may not leverage their status for the
benefit of their larger partners. JA404, 492.
                                       34
     As a result, American does not stand to benefit from the award of

the slot exemptions to Alaska. See JA139 (explaining that the

settlement’s code-sharing limitations incentivize Alaska “to grow in

ways that continue to enhance competition”). Contra Spirit Br. 32-33.

     Frontier and Spirit suggest that this conclusion departed from the

statutory text. E.g., Pet’r Br. 31; Spirit Br. 27. But here, as in many

circumstances, the agency needed “to decide how a broad statutory term

applie[s] to specific facts found by the agency.” Loper Bright Enters. v.

Raimondo, 603 U.S. 369, 388 (2024). That kind of routine, “factbound”

determination is within the agency’s ken, as many Supreme Court

decisions illustrate. Id. at 389; see, e.g., O’Keeffe v. Smith, Hinchman &

Grylls Assocs., Inc., 380 U.S. 359, 364 (1965) (per curiam); Cardillo v.

Liberty Mut. Ins. Co., 330 U.S. 469, 478 (1947); NLRB v. Hearst Publ’ns,

Inc., 322 U.S. 111, 131 (1944); Gray v. Powell, 314 U.S. 402, 412-13

(1941). DOT’s orders reflect a factual determination about the nature of

the Alaska-American relationship, and then reasonably concluded that

such a relationship does not implicate the concerns addressed in

§ 41714(k). That was a faithful application of the statutory scheme.




                                    35
      Spirit also notes (at 31) that 49 U.S.C. § 40109(c) authorizes DOT

the authority to grant exemptions from certain requirements, but that

provision does not apply to § 41714. That observation is beside the

point. DOT did not purport to grant an exemption to Alaska, and it did

not rely on the authority provided in § 40109(c). DOT simply applied

the relevant statutory provision to the particular facts it found with

respect to the Alaska-American code-share relationship.

IV.   If the Court were to grant Frontier’s petition, it
      should defer any decision regarding the appropriate
      remedy.

      If the Court were to grant Frontier’s petition in whole or part, it

could “amend, modify, or set aside any part of the order” or remand for

“the Secretary [of Transportation] . . . to conduct further proceedings” as

appropriate. 49 U.S.C. § 46110(c). But the Court should defer any

consideration of the appropriate remedy pending further proceedings on

Alaska’s conditional cross-petition for review in No. 25-1062.

      Alaska’s petition raises the question whether the Final Order

should be vacated in full if DOT erred in awarding the slot exemptions.

See Petition for Review, Alaska Airlines, Inc. v. U.S. Dep’t of Transp.,

No. 25-1062 (D.C. Cir. filed Feb. 14, 2025). That petition is currently in


                                    36
abeyance pending the disposition of this case. See Order, Alaska

Airlines, No. 25-1062 (Feb. 25, 2025). Should Frontier’s petition be

granted, it would be appropriate to consider briefing in the Alaska case

regarding the scope of any remedy, which will necessarily be informed

by the precise disposition here. Frontier’s (at 36) and Spirit’s (at 33-36)

competing requests to either amend the Final Order or remand with

instructions are therefore premature.




                                    37
                           CONCLUSION

     For the foregoing reasons, the petition for review should be

denied.

                                       Respectfully submitted,

  Of Counsel:                          YAAKOV M. ROTH
GREGORY COTE                            Acting Assistant Attorney
 Acting General Counsel                   General

CHARLES E. ENLOE
 Assistant General Counsel        MICHAEL S. RAAB
                                   /s/ Simon C. Brewer
PETER J. PLOCKI                   SIMON C. BREWER
 Deputy Assistant General Counsel   Attorneys, Appellate Staff
EMILY KVESELIS                      Civil Division, Room 7529
 Trial Attorney                     U.S. Department of Justice
 U.S. Department of                 950 Pennsylvania Avenue NW
   Transportation                   Washington, DC 20530
                                    (202) 616-5367
                                    Simon.C.Brewer@usdoj.gov

March 2025




                                  38
                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 6927 words. This

brief also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because it was

prepared using Word for Microsoft 365 in Century Schoolbook 14-point

font, a proportionally spaced typeface.



                                           /s/ Simon C. Brewer
                                          Simon C. Brewer
                    CERTIFICATE OF SERVICE

     I hereby certify that on March 17, 2025, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court

of Appeals for the District of Columbia Circuit by using the appellate

CM/ECF system. Service will be accomplished by the appellate

CM/ECF system.


                                        /s/ Simon C. Brewer
                                       Simon C. Brewer
ADDENDUM
                                 TABLE OF CONTENTS

49 U.S.C. § 41714 ................................................................................... A1

49 U.S.C. § 41718 ................................................................................... A3

14 C.F.R. § 93.213 .................................................................................. A7
49 U.S.C. § 41714
§ 41714. Availability of slots
...
(h) Definitions.--In this section and sections 41715-41718 and
41734(h), the following definitions apply:
...
      (3) New entrant air carrier.--The term “new entrant air carrier”
      means an air carrier that does not hold a slot at the airport
      concerned and has never sold or given up a slot at that airport after
      December 16, 1985, and a limited incumbent carrier.
      (4) Slot.--The term “slot” means a reservation for an instrument
      flight rule takeoff or landing by an air carrier of an aircraft in air
      transportation.
      (5) Limited incumbent air carrier.--The term “limited incumbent
      air carrier” has the meaning given that term in subpart S of part 93
      of title 14, Code of Federal Regulations; except that--
        (A) “40” shall be substituted for “12” in sections 93.213(a)(5),
        93.223(c)(3), and 93.225(h);
        (B) for purposes of such sections, the term “slot” shall not include-
        -
             (i) “slot exemptions”;
             (ii) slots operated by an air carrier under a fee-for-service
             arrangement for another air carrier, if the air carrier
             operating such slots does not sell flights in its own name, and
             is under common ownership with an air carrier that seeks to
             qualify as a limited incumbent and that sells flights in its own
             name; or
             (iii) slots held under a sale and license-back financing
             arrangement with another air carrier, where the slots are
             under the marketing control of the other air carrier; and
        (C) for Ronald Reagan Washington National Airport, the
        Administrator shall not count, for the purposes of section
        93.213(a)(5), slots currently held by an air carrier but leased out
                                       A1
      on a long-term basis by that carrier for use in foreign air
      transportation and renounced by the carrier for return to the
      Department of Transportation or the Federal Aviation
      Administration.
...
(k) Affiliated carriers.--For purposes of this section and sections
41716, 41717, and 41718, an air carrier that operates under the same
designator code, or has or enters into a code-share agreement, with any
other air carrier shall not qualify for a new slot or slot exemption as a
new entrant or limited incumbent air carrier at an airport if the total
number of slots and slot exemptions held by the two carriers at the
airport exceed 20 slots and slot exemptions.




                                   A2
49 U.S.C. § 41718
§ 41718. Special rules for Ronald Reagan Washington National
Airport
...
(g) Additional slot exemptions.--
      (1) Increase in slot exemptions.--Not later than 90 days after the
      date of enactment of the FAA Modernization and Reform Act of
      2012, the Secretary shall grant, by order 16 exemptions from--
        (A) the application of sections 49104(a)(5), 49109, and 41714 to air
        carriers to operate limited frequencies and aircraft on routes
        between Ronald Reagan Washington National Airport and
        airports located beyond the perimeter described in section 49109;
        and
        (B) the requirements of subparts K and S of part 93, Code of
        Federal Regulations.
      (2) New entrants and limited incumbents.--Of the slot
      exemptions made available under paragraph (1), the Secretary shall
      make 8 available to limited incumbent air carriers or new entrant
      air carriers (as such terms are defined in section 41714(h)). Such
      exemptions shall be allocated pursuant to the application process
      established by the Secretary under subsection (d). The Secretary
      shall consider the extent to which the exemptions will--
        (A) provide air transportation with domestic network benefits in
        areas beyond the perimeter described in section 49109;
        (B) increase competition in multiple markets;
        (C) not reduce travel options for communities served by small hub
        airports and medium hub airports within the perimeter described
        in section 49109;
        (D) not result in meaningfully increased travel delays;
        (E) enhance options for nonstop travel to and from the beyond-
        perimeter airports that will be served as a result of those
        exemptions;


                                     A3
        (F) have a positive impact on the overall level of competition in
        the markets that will be served as a result of those exemptions; or
        (G) produce public benefits, including the likelihood that the
        service to airports located beyond the perimeter described in
        section 49109 will result in lower fares, higher capacity, and a
        variety of service options.
      (3) Improved network slots.--Of the slot exemptions made
      available under paragraph (1), the Secretary shall make 8 available
      to incumbent air carriers qualifying for status as a non-limited
      incumbent carrier at Ronald Reagan Washington National Airport
      as of the date of enactment of the FAA Modernization and Reform
      Act of 2012. Each such non-limited incumbent air carrier--
        (A) may operate up to a maximum of 2 of the newly authorized
        slot exemptions;
        (B) prior to exercising an exemption made available under
        paragraph (1), shall discontinue the use of a slot for service
        between Ronald Reagan Washington National Airport and a large
        hub airport within the perimeter as described in section 49109,
        and operate, in place of such service, service between Ronald
        Reagan Washington National Airport and an airport located
        beyond the perimeter described in section 49109;
        (C) shall be entitled to return of the slot by the Secretary if use of
        the exemption made available to the carrier under paragraph (1)
        is discontinued;
        (D) shall have sole discretion concerning the use of an exemption
        made available under paragraph (1), including the initial or any
        subsequent beyond perimeter destinations to be served; and
        (E) shall file a notice of intent with the Secretary and subsequent
        notices of intent, when appropriate, to inform the Secretary of any
        change in circumstances concerning the use of any exemption
        made available under paragraph (1).
...




                                       A4
(i) Additional slot exemptions.--
   (1) Increase in slot exemptions.--Not later than 60 days after the
   date of enactment of the FAA Reauthorization Act of 2024, the
   Secretary shall grant, by order, 10 exemptions from--
     (A) the application of sections 49104(a)(5), 49109, and 41714 to air
     carriers to operate limited frequencies and aircraft on routes
     between Ronald Reagan Washington National Airport and
     domestic airports located within or beyond the perimeter
     described in section 49109; and
     (B) the requirements of subparts K, S, and T of part 93 of title 14,
     Code of Federal Regulations.
   (2) Non-limited incumbents.--Of the slot exemptions made
   available under paragraph (1), the Secretary shall make 8 available
   to incumbent air carriers qualifying for status as a non-limited
   incumbent carrier at Ronald Reagan Washington National Airport
   as of the date of enactment of the FAA Reauthorization Act of 2024.
   (3) Limited incumbents.--Of the slot exemptions made available
   under paragraph (1), the Secretary shall make 2 available to
   incumbent air carriers qualifying for status as a limited incumbent
   carrier at Ronald Reagan Washington National Airport as of the
   date of enactment of the FAA Reauthorization Act of 2024.
   (4) Allocation procedures.--The Secretary shall allocate the 10
   slot exemptions provided under paragraph (1) pursuant to the
   application process established by the Secretary under subsection
   (d), subject to the following:
     (A) Limitations.--Each air carrier that is eligible under
     paragraph (2) and paragraph (3) shall be eligible to operate no
     more and no less than 2 of the newly authorized slot exemptions.
     (B) Criteria.--The Secretary shall consider the extent to which
     the exemptions will--
         (i) enhance options for nonstop travel to beyond-perimeter
         airports that do not have nonstop service from Ronald Reagan
         Washington National Airport as of the date of enactment of
         the FAA Reauthorization Act of 2024; or

                                   A5
      (ii) have a positive impact on the overall level of competition
      in the markets that will be served as a result of those
      exemptions.
...




                               A6
14 C.F.R. § 93.213
§ 93.213. Definitions and general provisions
(a) For purposes of this subpart—
      (1) New entrant carrier means a commuter operator or air carrier
      which does not hold a slot at a particular airport and has never sold
      or given up a slot at that airport after December 16, 1985.
      (2) Slot means the operational authority to conduct one IFR landing
      or takeoff operation each day during a specific hour or 30 minute
      period at one of the High Density Traffic Airports, as specified in
      subpart K of this part.
...
      (5) Limited incumbent carrier means an air carrier or commuter
      operator that holds or operates fewer than 12 air carrier or
      commuter slots, in any combination, at a particular airport, not
      including international slots, Essential Air Service Program slots, or
      slots between the hours of 2200 and 0659 at Washington National
      Airport or LaGuardia Airport. However, for the purposes of this
      paragraph (a)(5), the carrier is considered to hold the number of
      slots at that airport that the carrier has, since December 16, 1985:
        (i) Returned to the FAA;
        (ii) Had recalled by the FAA under § 93.227(a); or
        (iii) Transferred to another party other than by trade for one or
        more slots at the same airport.
...




                                      A7
